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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Dinesh Patel                                     Case No.: 1:24-cv-02535

                     Plaintiff,                  Judge Ana C. Reyes

               v.                                NOTICE OF WITHDRAWAL

Georgetown Software House, Inc.

                      Defendant.


To:    The Clerk of this Court and all parties of record:

       Pursuant to LCvR 83.6(b), Defendant Georgetown Software House, Inc., by and through

its attorneys, hereby informs the Court that Catharine Luo is withdrawing her appearance as

counsel on this case. Eliot S. Markman will remain as counsel.

Dated: January 24, 2025                              DENTONS US LLP

                                                     By: /s/ Catharine Luo
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                                                     Software House, Inc.
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of January 2025, I served a copy of the foregoing

upon the following via electronic mail and first class, U.S. mail, postage pre-paid to the

following:

    Dinesh Patel
    2118 Walsh Ave., Suite 240
    Santa Clara, CA 95050
    btcroot@gmail.com

                                                  /s/ Catharine Luo




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